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          Amendments to the
         Sentencing Guidelines

                                                     April 27, 2023


                              Effective Date
                             November 1, 2023

 This compilation contains unofficial text of amendments to the sentencing guidelines,
 policy statements, commentary, and Statutory Index submitted to Congress, and is
 provided only for the convenience of the user. Official text of the amendments can be
 found on the Commission’s website at www.ussc.gov and will appear in a forthcoming
 edition of the Federal Register.
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 The United States Sentencing Commission is an independent agency in the judicial branch
 of the United States Government. The Commission promulgates sentencing guidelines and
 policy statements for federal sentencing courts pursuant to 28 U.S.C. § 994(a). The
 Commission also periodically reviews and revises previously promulgated guidelines
 pursuant to 28 U.S.C. § 994(o) and generally submits guideline amendments to the Congress
 not later than the first day of May each year pursuant to 28 U.S.C. § 994(p). Absent action of
 the Congress to the contrary, submitted amendments become effective by operation of law on
 the date specified by the Commission (generally November 1 of the year in which the
 amendments are submitted to Congress).

 The Commission specified an effective date of November 1, 2023, for the amendments listed
 above and included in this compilation.
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         2023 AMENDMENTS TO THE SENTENCING GUIDELINES,
          POLICY STATEMENTS, AND OFFICIAL COMMENTARY


 1.     FIRST STEP ACT—REDUCTION IN TERM OF IMPRISONMENT UNDER
        18 U.S.C. § 3582(c)(1)(A)
 Reason for Amendment: This amendment responds to, among other things, the First Step
 Act of 2018 (“First Step Act”), Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239, which
 amended 18 U.S.C. § 3582(c)(1)(A) to authorize courts to grant a motion for a sentence
 reduction upon a defendant’s own motion. Previously, a court was authorized to do so only
 upon the motion of the Director of the Bureau of Prisons (“BOP”). Congress amended the
 law for the express purpose, set forth on the face of the enactment, of “increasing the use” of
 sentence reduction motions under section 3582(c)(1)(A). First Step Act § 603(b).

 Section 3582(c)(1)(A) authorizes a court to reduce a defendant’s term of imprisonment if
 “extraordinary and compelling reasons” warrant a reduction and “such a reduction is
 consistent with applicable policy statements issued by the Sentencing Commission.”
 Congress directed the Commission to “describe what should be considered extraordinary
 and compelling reasons for sentence reduction, including the criteria to be applied and a list
 of specific examples.” Sentencing Reform Act of 1984 (“SRA”), Pub. L. No. 98–473, 98 Stat.
 1987, 2023 (codified at 28 U.S.C. § 994(t)). Congress also directed the Commission to
 promulgate general policy statements regarding the appropriate use of section 3582(c).
 28 U.S.C. § 994(a)(2)(C).

 For more than 30 years, reductions pursuant to section 3582(c)(1)(A) could be granted only
 upon the motion of the BOP. BOP filed such motions extremely rarely—the number of
 defendants receiving relief averaged two dozen per year—and for the most part limited its
 motions to cases involving inmates who were expected to die within a year or were
 profoundly and irremediably incapacitated. U.S. Dep’t of Just., Off. of the Inspector Gen.,
 The Federal Bureau of Prisons’ Compassionate Release Program, I-2013-006 1 & n.9 (2013).

 Sentence reductions under section 3582(c)(1)(A) thus came to be known as “compassionate
 release,” though that phrase appears nowhere in the SRA and sentence reductions that do
 not result in immediate release are authorized by the law. BOP’s sparing use of its
 authority persisted despite guidance from the Commission in 2007 that “extraordinary and
 compelling reasons” can be based on (a) the medical condition of the defendant, (b) the age
 of the defendant, (c) the defendant’s family circumstances, and (d) reasons other than, or in
 combination with, those three specified ones. USSG App. C, amend. 698 (effective Nov. 1,
 2007).

 In 2018, the First Step Act put an end BOP’s gatekeeping function and allowed individuals
 to file motions for sentence reductions under the statute. Because the Commission lost its
 quorum in early 2019 and did not regain it until 2022, it was unable to amend §1B1.13
 during the more than four-year period since defendants were first permitted to file such
 motions. During those years, courts have found extraordinary and compelling reasons
 warranting sentence reductions based on all of the factors the Commission identified in


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 2007, i.e., the three specified bases of medical condition, age, and family circumstances, and
 the “other reasons” catchall. Commission data indicate courts have hewed to the
 “extraordinary and compelling” requirement, see U.S. SENT’G COMM’N, COMPASSIONATE
 RELEASE DATA REPORT (Dec. 2022), at tbls. 10, 12, & 14, and while they have found such
 circumstances to be present in more cases than BOP had before the First Step Act, they
 have been judicious in granting relief.

 Among other things, the amendment extends the applicability of the policy statement to
 defendant-filed motions; expands the list of specified extraordinary and compelling reasons
 that can warrant sentence reductions; retains the existing “other reasons” catchall;
 provides specific guidance with regard to the permissible consideration of changes in the
 law; and responds to case law that developed after the enactment of the First Step Act.

 The amendment is informed by Commission data, including its analysis of the factors
 identified by courts in granting sentence reduction motions in the years since the First Step
 Act was signed into law. It is also informed by extensive public comment, including from
 the Department of Justice, the Federal Public and Community Defenders, the
 Commission’s advisory groups, law professors, currently and formerly incarcerated
 individuals, and other stakeholders in the federal criminal justice system.

        Applicability to Defendant-Filed Motions and Structural Revisions

 The amendment revises §1B1.13(a) to reflect that a defendant is now authorized to file a
 motion under 18 U.S.C. § 3582(c)(1)(A), making the policy statement applicable to both
 defendant-filed and BOP-filed motions.

 The amendment also makes two structural changes to §1B1.13. First, it moves the
 description of the permissible bases for a reduction from the Commentary to the policy
 statement itself.

 Second, the amendment moves Application Notes 2 and 3 into the body of the policy
 statement as new subsections (e) and (d). Application Note 3 previously provided that,
 pursuant to 28 U.S.C. § 994(t), rehabilitation of a defendant is not, by itself, an
 extraordinary and compelling reason for purposes of §1B1.13. New subsection (d) adopts
 this same language but adds, consistent with the plain language of section 994(t) and
 courts’ interpretations of it, that rehabilitation of the defendant while incarcerated may be
 considered in combination with other circumstances in determining whether extraordinary
 and compelling reasons warrant a sentence reduction. See U.S. SENT’G COMM’N,
 COMPASSIONATE RELEASE DATA REPORT (Dec. 2022), tbls. 10, 12 & 14 (showing that courts
 have frequently considered rehabilitation in connection with other factors when granting
 sentence reduction motions). Application Note 2 provided that “an extraordinary and
 compelling reason need not have been unforeseen at the time of sentencing in order to
 warrant a reduction in the term of imprisonment.” New subsection (e) retains this
 instruction without change.




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        Revisions to “Extraordinary and Compelling Reasons”

 The amendment expands the list of specified extraordinary and compelling reasons and
 retains the “other reasons” basis for a sentence reduction to better account for and reflect
 the plain language of section 3582(c)(1)(A), its legislative history, and decisions by courts
 made in the absence of a binding policy statement.

 The list of specified “extraordinary and compelling reasons” is expanded by: (a) adding two
 new subcategories to the “Medical Circumstances of the Defendant” ground for relief;
 (b) making three modifications to the “Family Circumstances” ground; (c) adding a new
 ground called “Victim of Abuse”; and (d) adding a new ground called “Unusually Long
 Sentence,” which permits a judge to consider a non-retroactive change in sentencing law as
 an extraordinary and compelling reason in specified circumstances.

 The first of the two new subcategories under “Medical Circumstances of the Defendant”
 applies when a defendant is “suffering from a medical condition that requires long-term or
 specialized medical care that is not being provided” and who, without that care, “is at risk
 of serious deterioration in health or death.” The second applies when a defendant, due to
 personal health risk factors and custodial status, is at increased risk of suffering severe
 medical complications or death as a result of exposure to an ongoing outbreak of infectious
 disease or public health emergency. The amendment incorporates several factors courts
 considered during the COVID-19 pandemic related to the defendant’s individual health
 circumstances, the level of risk at the defendant’s facility, and the ability to adequately
 mitigate the defendant’s individualized risk. The public health emergency prong requires
 that the emergency be declared by the appropriate governmental authority. These new
 subcategories reflect the medical circumstances not expressly identified in §1B1.13 that
 were most often cited by courts in granting sentence reduction motions during the
 pandemic. See U.S. SENT’G COMM’N, COMPASSIONATE RELEASE DATA REPORT (Dec. 2022)
 tbls. 10, 12 & 14.

 The second modification to the list of specified extraordinary and compelling reasons
 revises the “Family Circumstances” ground in three ways. First, it expands the existing
 provision relating to the death or incapacitation of the caregiver of a defendant’s minor
 child to include a child who is 18 years of age or older and incapable of self-care because of a
 mental or physical disability or a medical condition. This expansion reflects the
 Commission’s determination that providing care for a non-minor child with severe
 caretaking needs presents a circumstance similar to providing care for a minor child, as
 some courts have recognized. See, e.g., United States v. Barnes, No. 3:17-cr-00011, 2021 WL
 1269783, at *4 (S.D. Ind. Jan. 29, 2021) (granting a sentence reduction to a defendant
 whose 21-year-old son had numerous physical and mental disabilities that required 24-hour
 care, finding these circumstances “to be analogous to a minor child”). Second, the
 amendment adds a new provision for cases in which a defendant’s parent is incapacitated
 and the defendant would be the only available caregiver. Other than the relationships
 specified in the current policy statement, a parent has been the family member most often
 identified as needing care by courts granting sentence reductions under § 3582(c)(1)(A).
 See U.S. SENT’G COMM’N, COMPASSIONATE RELEASE: THE IMPACT OF THE FIRST STEP ACT
 AND COVID-19 PANDEMIC (2022), at 32; see also United States v. Bucci, 409 F. Supp. 3d 1, 2
 (D. Mass. 2019) (concluding that there is “no reason to discount” a defendant’s caregiving



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 role “simply because the incapacitated family member is a parent and not a spouse,”
 registered partner, or minor child). The third modification to the family circumstances
 ground for relief adds a provision that applies when the defendant establishes that similar
 circumstances exist with respect to a person whose relationship with the defendant is
 similar in kind to that of an immediate family member, and the defendant would be the
 only available caregiver. This provision recognizes the diversity of family structures in
 America, and that caretaking needs within all of those family structures may give rise to
 equally extraordinary and compelling circumstances. The amendment accords with
 decisions by courts after the First Step Act. See, e.g., United States v. Griffin, No. 1:95-cr-
 00751, 2020 WL 7295765, at *2–3 (S.D. Fla. Dec. 8, 2020) (granting release because the
 defendant was “the only viable, adequate caregiver for his sister” who had significant
 cognitive impairment due to vascular dementia and stroke); United States v. Reyes, No. 04-
 cr-970, 2020 WL 1663129, at *3 (N.D. Ill. Apr. 3, 2020) (granting defendant relief to assist
 in caring for his aunt with stage four cancer, recognizing “non-traditional family
 arrangements and the need for others in the family to contribute when a relative is sick”).
 Relief is available under this subsection only if the defendant establishes both the
 qualifying relationship and that the defendant is the only available caregiver.

 The third modification to the list of specified extraordinary and compelling reasons adds a
 ground for relief at new subsection (b)(4) (“Victim of Abuse”), which applies if a defendant
 has suffered sexual or physical abuse that was committed by or at the direction of a
 correctional officer, an employee or contractor of the BOP, or any other individual having
 custody or control over the defendant. This provision responds to the Department of
 Justice’s (“DOJ”) suggestion that a sentence reduction may be appropriate where an
 individual in BOP custody has been determined to have been the victim of sexual assault
 perpetrated by BOP personnel. PRINCIPAL ASSOC. DEPUTY ATT’Y GEN. WORKING GRP. OF
 DOJ COMPONENTS, DEP’T OF JUST., REPORT AND RECOMMENDATIONS CONCERNING THE
 DEPARTMENT OF JUSTICE’S RESPONSE TO SEXUAL MISCONDUCT BY EMPLOYEES OF THE
 BUREAU OF PRISONS 22 (2022); see also STAFF OF PERMANENT S. SUBCOMM. ON
 INVESTIGATIONS, 117TH CONG., REP. ON SEXUAL ABUSE OF FEMALE INMATES IN FEDERAL
 PRISONS (Comm. Print 2022) (summarizing results of investigation into sexual abuse of
 federal prisoners in BOP custody). New subsection (b)(4) is limited to instances in which the
 defendant was a victim of either (a) sexual abuse involving a “sexual act,” as defined in
 18 U.S.C. § 2246(2) (including the conduct described in 18 U.S.C. § 2246(2)(D) regardless of
 the age of the victim); or (b) physical abuse resulting in “serious bodily injury,” as defined at
 §1B1.1, while in custody serving the term of imprisonment sought to be reduced. New
 subsection (b)(4) provides that the misconduct must be established by a conviction in a
 criminal case, a finding or admission of liability in a civil case, or a finding in an
 administrative proceeding, unless the defendant establishes that such proceedings are
 unduly delayed or the defendant is in imminent danger.

 Apart from the specified extraordinary and compelling reasons, the amendment retains the
 “Other Reasons” catchall ground currently found in Application Note 1(D). It also makes
 clear that extraordinary and compelling reasons exist if the defendant presents any other
 circumstance or combination of circumstances that, considered by themselves or together
 with any of the reasons specified in paragraphs (1) through (4), are similar in gravity to
 those described in paragraphs (1) through (4). The Commission considered but specifically
 rejected a requirement that “other reasons” be similar in nature and consequence to the



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 specified reasons. Rather, they need be similar only in gravity, a requirement that inheres
 in the statutory requirement that they present extraordinary and compelling reasons for a
 sentence reduction. See 18 U.S.C. § 3582(c)(1)(A).

 The Commission recognized that during the period between the enactment of the First Step
 Act in 2018 and this amendment, district courts around the country based sentence
 reductions on dozens of reasons and combinations of reasons. Based on a careful review of
 those cases, the Commission continues to believe what is stated in Application Note 4 to the
 current policy statement, i.e., that judges are “in a unique position to determine whether
 the circumstances warrant a reduction.” Guidance beyond that provided in the amended
 policy statement regarding what circumstances or combination of circumstances are
 sufficiently extraordinary and compelling to warrant a reduction in sentence is best
 provided by reviewing courts, rather than through an effort by the Commission to predict
 and specify in advance all of the grounds on which relief may be appropriate.

 The fifth modification to the list of specified extraordinary and compelling reasons appears
 in new subsection (b)(6) (“Unusually Long Sentence”) and permits non-retroactive changes
 in law (other than non-retroactive amendments to the Guidelines Manual) to be considered
 extraordinary and compelling reasons warranting a sentence reduction, but only in
 narrowly circumscribed circumstances. Specifically, where (a) the defendant is serving an
 unusually long sentence; (b) the defendant has served at least ten years of the sentence;
 and (c) an intervening change in the law has produced a gross disparity between the
 sentence being served and the sentence likely to be imposed at the time the motion is filed,
 the change in law can qualify as an extraordinary and compelling reason after the court has
 fully considered the defendant’s individualized circumstances.

 One of the expressed purposes of section 3582(c)(1)(A) when it was enacted in 1984 was to
 provide a narrow avenue for judicial relief from unusually long sentences. S. REP. NO. 98–
 225 (1983). Having abolished parole in the interest of certainty in sentencing, Congress
 recognized the need for such judicial authority. In effect, it replaced opaque Parole
 Commission review of every federal sentence with a transparent, judicial authority to
 consider reducing only a narrow subset of sentences—those presenting “extraordinary and
 compelling” reasons for a reduction.

 Subsections (b)(6) and (c) operate together to respond to a circuit split concerning when, if
 ever, non-retroactive changes in law may be considered as extraordinary and compelling
 reasons within the meaning of section 3582(c)(1)(A). Compare United States v. Ruvalcaba,
 26 F.4th 14, 16, 26–28 (1st Cir. 2022) (holding that non-retroactive changes in sentencing
 law may be considered in light of a defendant’s particular circumstances), United States v.
 McCoy, 981 F.3d 271, 286–88 (4th Cir. 2020) (same), United States v. Chen, 48 F.4th 1092,
 1098 (9th Cir. 2022) (same), and United States v. McGee, 992 F.3d 1035, 1047–48 (10th Cir.
 2021) (same), with United States v. Andrews, 12 F.4th 255, 260–62 (3d Cir. 2021), cert.
 denied, 142 S. Ct. 1446 (2022) (holding that non-retroactive changes in law are not
 permissible considerations), United States v. McMaryion, 64 F.4th 257, 259–60 (5th Cir.
 2023) (same), United States v. McCall, 56 F.4th 1048, 1061 (6th Cir. 2022) (en banc) (same),
 United States v. King, 40 F.4th 594, 595 (7th Cir. 2022) (same), United States v. Crandall,
 25 F.4th 582, 585–86 (8th Cir. 2022) (same), and United States v. Jenkins, 50 F.4th 1185,
 1198, 1198 (D.C. Cir. 2022) (same).



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 The Commission considered whether the foregoing split among the circuit courts of appeals
 was properly addressed by the Commission, which typically resolves such disagreements
 when they relate to its guidelines or policy statements, see Braxton v. United States,
 500 U.S. 344 (1991), or by the Supreme Court. In making that determination, the
 Commission was influenced by the fact that on several occasions the Department of Justice
 successfully opposed Supreme Court review of the issue on the ground that it should be
 addressed first by the Commission. See, e.g., Brief For the United States in Opposition to
 Grant of Certiorari, Jarvis v. United States, No. 21-568, 2021 WL 5864543 (U.S. Dec. 8,
 2021); Memorandum For the United States in Opposition to Grant of Certiorari, Watford v.
 United States, No. 21-551, 2021 WL 5983234 (U.S. Dec. 15, 2021); Memorandum For the
 United States in Opposition to Grant of Certiorari, Williams v. United States, No. 21-767,
 2022 WL 217947 (U.S. Jan. 24, 2022); Memorandum For the United States in Opposition to
 Grant of Certiorari, Thacker v. United States, No. 21-877, 2022 WL 467984 (U.S. Feb. 14,
 2022).

 The amendment agrees with the circuits that authorize a district court to consider non-
 retroactive changes in the law as extraordinary and compelling circumstances warranting a
 sentence reduction but adopts a tailored approach that narrowly limits that principle in
 multiple ways. First, it permits the consideration of such changes only in cases involving
 “unusually long sentences,” which the legislative history to the SRA expressly identified as
 a context in which sentence reduction authority is needed. See S. REP. NO. 98–225, at 55
 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3238–39. (“The Committee believes that there
 may be unusual cases in which the eventual reduction in the length of a term of
 imprisonment is justified by changed circumstances. These would include cases of severe
 illness, cases in which other extraordinary and compelling circumstances justify a reduction
 of an unusually long sentence, and some cases in which the sentencing guidelines for the
 offense of which the defender [sic] was convicted have been later amended to prove a
 shorter term of imprisonment.”)). Second, the change in law itself may be considered an
 extraordinary and compelling reason only where it would produce a gross disparity between
 the length of the sentence being served and the sentence likely to be imposed at the time
 the motion is filed. Finally, to address administrative concerns raised by some commenters,
 the amendment limits the application of this provision to individuals who have served at
 least 10 years of the sentence the motion seeks to reduce. Commission data show that
 between fiscal year 2013 and fiscal year 2022, fewer than 12 percent (11.5%) of all offenders
 were sentenced to a term of imprisonment of ten years or longer.

 Subsection (b)(6) excludes from consideration as extraordinary and compelling reasons
 warranting a reduction in sentence changes to the Guidelines Manual that the Commission
 has not made retroactive. Public comment requested that the Commission clarify the
 interaction between §1B1.13 and §1B1.10, and the Commission determined that excluding
 non-retroactive changes to the guidelines from consideration as extraordinary and
 compelling reasons was consistent with §1B1.10 and the Supreme Court’s decision in
 Dillon v. United States, 560 U.S. 817 (2010).

 To more fully address the proper role of changes in law in this context, the amendment also
 adds a new subsection (c) to the policy statement. Whereas subsection (b)(6) narrowly limits
 the circumstances in which a non-retroactive change in the law can constitute an



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 extraordinary and compelling reason that itself can warrant a reduction in sentence,
 subsection (c) of the amended policy statement governs the use of changes in the law in
 cases where a defendant “otherwise establishes that extraordinary and compelling reasons
 warrant a sentence reduction.” In those circumstances, all changes in law, including non-
 retroactive amendments to the Guidelines Manual, may properly be considered in
 determining the extent of a sentencing reduction. For example, a defendant’s motion may
 present the following circumstances: (a) commendable rehabilitation while incarcerated;
 (b) the offense conduct occurred when the defendant was in his late teens or early twenties;
 and (c) pursuant to intervening legislation or intervening Guidelines amendments, the
 sentence likely to be imposed at the time of the motion would be lower than the sentence
 being served, but not grossly so. In those circumstances, the change in law could not
 properly be considered an extraordinary and compelling reason warranting a reduction in
 sentence. However, if the court determines that the combination of the other two factors
 constitutes an extraordinary and compelling reason, the change in law is among the broad
 array of factors that may properly be considered in determining the extent of any such
 reduction. This aspect of the amendment is fully consistent with Concepcion v. United
 States, 142 S. Ct. 2389 (2022).

 Finally, the requirements in subsection (b)(6) that the defendant be serving an unusually
 long sentence and have served at least ten years of such sentence are not applicable to
 cases not covered by that subsection. Those requirements apply only when a defendant
 seeks to have a non-retroactive change in law itself be considered an extraordinary and
 compelling reason warranting a reduction in sentence.

        New Application Notes Regarding Interaction with 18 U.S.C. § 3622 and Notification
        of Victims

 The amendment also adds two new application notes to the Commentary to §1B1.13. New
 Application Note 1 provides that a reduction under this policy statement is not appropriate
 when temporary release under 18 U.S.C. § 3622 (a furlough granted by the Bureau of
 Prisons) “adequately addresses” the defendant’s circumstances. This new application note
 responds to public comment, including comment from the Criminal Law Committee for the
 Judicial Conference of the United States, urging the Commission to clarify that this policy
 statement is not intended to address temporary medical or family circumstances that a
 BOP-granted furlough adequately addresses.

 New Application Note 2 “encourages the court to make its best effort to ensure that any
 victim of the offense is reasonably, accurately, and timely notified, and provided, to the
 extent practicable, with an opportunity to be reasonably heard, unless any such victim
 previously requested not to be notified.” Although § 3582(c)(1)(A) does not require a court to
 conduct a public court proceeding before resolving a motion, and in many cases the passage
 of time can make victim identification and notification difficult, the Commission encourages
 the court to make its best effort to notify any victims and, to the extent public court
 proceedings are held, afford them an opportunity to be heard, unless the victim previously
 requested not to be notified.




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          Conforming Changes

 Finally, as conforming changes, the amendment deletes Application Notes 4 and 5 and
 makes a minor technical change to the Background Commentary. Application Note 4
 reflected that only the Bureau of Prisons could file a motion under 18 U.S.C. § 3582(c)(1)(A)
 before the First Step Act and, as such, “encourage[d] the Director of the Bureau of Prisons
 to file such a motion.” Application Note 5 provided that “[a]ny reduction made pursuant to a
 motion by the Director of the Bureau of Prisons for the reasons set forth in subdivisions (1)
 and (2) is consistent with this policy statement.” These two application notes were deleted
 because a motion by the Director of the Bureau of Prisons is no longer required after the
 enactment of the First Step Act. The Background Commentary is also amended to reflect
 that the Commission is “required,” as opposed to “authorized,” to “describe what should be
 considered extraordinary and compelling reasons for sentence reduction.”


 Amendment:

 §1B1.13. Reduction in Term of Imprisonment Under 18 U.S.C. § 3582(c)(1)(A) (Policy
          Statement)

 (a)    IN GENERAL.—Upon motion of the Director of the Bureau of Prisons or the defendant
        underpursuant to 18 U.S.C. § 3582(c)(1)(A), the court may reduce a term of
        imprisonment (and may impose a term of supervised release with or without
        conditions that does not exceed the unserved portion of the original term of
        imprisonment) if, after considering the factors set forth in 18 U.S.C. § 3553(a), to
        the extent that they are applicable, the court determines that—

        (1)   (A) extraordinary and compelling reasons warrant the reduction; or

              (B) the defendant (i) is at least 70 years old; and (ii) has served at least
                  30 years in prison pursuant to a sentence imposed under 18 U.S.C.
                  § 3559(c) for the offense or offenses for which the defendant is imprisoned;

        (2)   the defendant is not a danger to the safety of any other person or to the
              community, as provided in 18 U.S.C. § 3142(g); and

        (3)   the reduction is consistent with this policy statement.

 (b)    EXTRAORDINARY AND COMPELLING REASONS.—Extraordinary and compelling reasons
        exist under any of the following circumstances or a combination thereof:

        (1)   MEDICAL CIRCUMSTANCES OF THE DEFENDANT.—

              (A) {The defendant is suffering from a terminal illness (i.e., a serious and
                  advanced illness with an end of lifeend-of-life trajectory). A specific
                  prognosis of life expectancy (i.e., a probability of death within a specific



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                 time period) is not required. Examples include metastatic solid-tumor
                 cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease, and
                 advanced dementia.}*

            (B) {The defendant is—

                 (i)    suffering from a serious physical or medical condition,

                 (ii)   suffering from a serious functional or cognitive impairment, or

                 (iii) experiencing deteriorating physical or mental health because of the
                       aging process,

                 that substantially diminishes the ability of the defendant to provide self-
                 care within the environment of a correctional facility and from which he
                 or she is not expected to recover.}*

            (C) The defendant is suffering from a medical condition that requires long-
                term or specialized medical care that is not being provided and without
                which the defendant is at risk of serious deterioration in health or death.

            (D) The defendant presents the following circumstances—

                 (i)    the defendant is housed at a correctional facility affected or at
                        imminent risk of being affected by (I) an ongoing outbreak of
                        infectious disease, or (II) an ongoing public health emergency
                        declared by the appropriate federal, state, or local authority;

                 (ii)   due to personal health risk factors and custodial status, the
                        defendant is at increased risk of suffering severe medical
                        complications or death as a result of exposure to the ongoing
                        outbreak of infectious disease or the ongoing public health
                        emergency described in clause (i); and

                 (iii) such risk cannot be adequately mitigated in a timely manner.

      (2)   {AGE OF THE DEFENDANT.—The defendant (A) is at least 65 years old; (B) is
            experiencing a serious deterioration in physical or mental health because of
            the aging process; and (C) has served at least 10 years or 75 percent of his or
            her term of imprisonment, whichever is less.}*

      (3)   FAMILY CIRCUMSTANCES OF THE DEFENDANT.—



   * The text in braces currently appears in the Commentary to §1B1.13. The amendment places
 the text here.


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            (A) {The death or incapacitation of the caregiver of the defendant’s minor
                child or minor childrenthe defendant’s child who is 18 years of age or older
                and incapable of self-care because of a mental or physical disability or a
                medical condition.}**

            (B) {The incapacitation of the defendant’s spouse or registered partner when
                the defendant would be the only available caregiver for the spouse or
                registered partner.}*

            (C) The incapacitation of the defendant’s parent when the defendant would
                be the only available caregiver for the parent.

            (D) The defendant establishes that circumstances similar to those listed in
                paragraphs (3)(A) through (3)(C) exist involving any other immediate
                family member or an individual whose relationship with the defendant is
                similar in kind to that of an immediate family member, when the
                defendant would be the only available caregiver for such family member
                or individual. For purposes of this provision, “immediate family
                member” refers to any of the individuals listed in paragraphs (3)(A)
                through (3)(C) as well as a grandchild, grandparent, or sibling of the
                defendant.

      (4)   VICTIM OF ABUSE.—The defendant, while in custody serving the term of
            imprisonment sought to be reduced, was a victim of:

            (A) sexual abuse involving a “sexual act,” as defined in 18 U.S.C. § 2246(2)
                (including the conduct described in 18 U.S.C. § 2246(2)(D) regardless of
                the age of the victim); or

            (B) physical abuse resulting in “serious bodily injury,” as defined in the
                Commentary to §1B1.1 (Application Instructions);

            that was committed by, or at the direction of, a correctional officer, an employee
            or contractor of the Bureau of Prisons, or any other individual who had custody
            or control over the defendant.

            For purposes of this provision, the misconduct must be established by a
            conviction in a criminal case, a finding or admission of liability in a civil case,
            or a finding in an administrative proceeding, unless such proceedings are
            unduly delayed or the defendant is in imminent danger.



   * The text in braces currently appears in the Commentary to §1B1.13. The amendment places
 the text here.
   ** The text in braces currently appears in the Commentary to §1B1.13 The amendment places
 the text here with the changes shown in revision marks.



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        (5)   OTHER REASONS.—The defendant presents any other circumstance or
              combination of circumstances that, when considered by themselves or together
              with any of the reasons described in paragraphs (1) through (4), are similar in
              gravity to those described in paragraphs (1) through (4).

        (6)   UNUSUALLY LONG SENTENCE.—If a defendant received an unusually long
              sentence and has served at least 10 years of the term of imprisonment, a
              change in the law (other than an amendment to the Guidelines Manual that
              has not been made retroactive) may be considered in determining whether the
              defendant presents an extraordinary and compelling reason, but only where
              such change would produce a gross disparity between the sentence being
              served and the sentence likely to be imposed at the time the motion is filed,
              and after full consideration of the defendant’s individualized circumstances.

 (c)    LIMITATION ON CHANGES IN LAW.—Except as provided in subsection (b)(6), a change
        in the law (including an amendment to the Guidelines Manual that has not been
        made retroactive) shall not be considered for purposes of determining whether an
        extraordinary and compelling reason exists under this policy statement. However,
        if a defendant otherwise establishes that extraordinary and compelling reasons
        warrant a sentence reduction under this policy statement, a change in the law
        (including an amendment to the Guidelines Manual that has not been made
        retroactive) may be considered for purposes of determining the extent of any such
        reduction.

 (d)    {REHABILITATION OF THE DEFENDANT.—Pursuant to 28 U.S.C. § 994(t),
        rehabilitation of the defendant is not, by itself, an extraordinary and compelling
        reason for purposes of this policy statement. However, rehabilitation of the
        defendant while serving the sentence may be considered in combination with other
        circumstances in determining whether and to what extent a reduction in the
        defendant’s term of imprisonment is warranted.}**

 (e)    {FORESEEABILITY OF EXTRAORDINARY AND COMPELLING REASONS.—For purposes of
        this policy statement, an extraordinary and compelling reason need not have been
        unforeseen at the time of sentencing in order to warrant a reduction in the term of
        imprisonment. Therefore, the fact that an extraordinary and compelling reason
        reasonably could have been known or anticipated by the sentencing court does not
        preclude consideration for a reduction under this policy statement.}*




   * The text in braces currently appears in the Commentary to §1B1.13. The amendment places
 the text here.
   ** The text in braces currently appears in the Commentary to §1B1.13 The amendment places
 the text here with the changes shown in revision marks.


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                                                 Commentary
 Application Notes:

 1.    Extraordinary and Compelling Reasons.—Provided the defendant meets the requirements
       of subdivision (2), extraordinary and compelling reasons exist under any of the circumstances set
       forth below:

       (A)   Medical Condition of the Defendant.—

             (i)    The defendant is suffering from a terminal illness (i.e., a serious and advanced illness
                    with an end of life trajectory). A specific prognosis of life expectancy (i.e., a probability
                    of death within a specific time period) is not required. Examples include metastatic
                    solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease, and
                    advanced dementia.

             (ii)   The defendant is—

                    (I)    suffering from a serious physical or medical condition,

                    (II)   suffering from a serious functional or cognitive impairment, or

                    (III) experiencing deteriorating physical or mental health because of the aging
                          process,

                    that substantially diminishes the ability of the defendant to provide self-care within
                    the environment of a correctional facility and from which he or she is not expected to
                    recover.

       (B)   Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is experiencing a
             serious deterioration in physical or mental health because of the aging process; and (iii) has
             served at least 10 years or 75 percent of his or her term of imprisonment, whichever is less.

       (C)   Family Circumstances.—

             (i)    The death or incapacitation of the caregiver of the defendant’s minor child or minor
                    children.

             (ii)   The incapacitation of the defendant’s spouse or registered partner when the defendant
                    would be the only available caregiver for the spouse or registered partner.

       (D)   Other Reasons.—As determined by the Director of the Bureau of Prisons, there exists in
             the defendant’s case an extraordinary and compelling reason other than, or in combination
             with, the reasons described in subdivisions (A) through (C).

 2.    Foreseeability of Extraordinary and Compelling Reasons.—For purposes of this policy
       statement, an extraordinary and compelling reason need not have been unforeseen at the time
       of sentencing in order to warrant a reduction in the term of imprisonment. Therefore, the fact
       that an extraordinary and compelling reason reasonably could have been known or anticipated
       by the sentencing court does not preclude consideration for a reduction under this policy
       statement.




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 3.    Rehabilitation of the Defendant.—Pursuant to 28 U.S.C. § 994(t), rehabilitation of the
       defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy
       statement.

 4.    Motion by the Director of the Bureau of Prisons.—A reduction under this policy statement
       may be granted only upon motion by the Director of the Bureau of Prisons pursuant to 18 U.S.C.
       § 3582(c)(1)(A). The Commission encourages the Director of the Bureau of Prisons to file such a
       motion if the defendant meets any of the circumstances set forth in Application Note 1. The court
       is in a unique position to determine whether the circumstances warrant a reduction (and, if so,
       the amount of reduction), after considering the factors set forth in 18 U.S.C. § 3553(a) and the
       criteria set forth in this policy statement, such as the defendant’s medical condition, the
       defendant’s family circumstances, and whether the defendant is a danger to the safety of any
       other person or to the community.

       This policy statement shall not be construed to confer upon the defendant any right not otherwise
       recognized in law.

 5.    Application of Subdivision (3).—Any reduction made pursuant to a motion by the Director of
       the Bureau of Prisons for the reasons set forth in subdivisions (1) and (2) is consistent with this
       policy statement.

 1.    Interaction with Temporary Release from Custody Under 18 U.S.C. § 3622
       (“Furlough”).—A reduction of a defendant’s term of imprisonment under this policy statement
       is not appropriate when releasing the defendant under 18 U.S.C. § 3622 for a limited time
       adequately addresses the defendant’s circumstances.

 2.    Notification of Victims.—Before granting a motion pursuant to 18 U.S.C. § 3582(c)(1)(A), the
       Commission encourages the court to make its best effort to ensure that any victim of the offense
       is reasonably, accurately, and timely notified, and provided, to the extent practicable, with an
       opportunity to be reasonably heard, unless any such victim previously requested not to be
       notified.

 Background: The Commission is required by 28 U.S.C. § 994(a)(2) to develop general policy
 statements regarding application of the guidelines or other aspects of sentencing that in the view of
 the Commission would further the purposes of sentencing (18 U.S.C. § 3553(a)(2)), including, among
 other things, the appropriate use of the sentence modification provisions set forth in 18 U.S.C.
 § 3582(c). In doing so, the Commission is authorizedrequired by 28 U.S.C. § 994(t) to “describe what
 should be considered extraordinary and compelling reasons for sentence reduction, including the
 criteria to be applied and a list of specific examples.” This policy statement implements 28 U.S.C.
 § 994(a)(2) and (t).

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